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Thomas P. Riley, SBN 194706

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Attorneys for Plaintiff
Innovative Sports Management, Inc.,
d/b/a Integrated Sports Media

INNOVATIVE SPORTS
MANAGEMENT, INC., d/b/a
INTEGRATED SPORTS MEDIA,

Plaintiff,

VS.

EDWN R. INGA, individually and d/b/a
TOMBO LOCO PERUVIAN
RESTAURANT,

Defendant.

 

 

Contentions of Fact and Law.

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9-cv-02070-TJH-PLA Document 38 Filed 05/17/21 Page1of8 Page ID #:176

LAW OFFICES OF THOMAS P. RILEY, P.C.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

Case No.: 2:19-cv-02070-TJH-PLA

PLAINTIFF’S MEMORANDUM OF
oo OF FACT AND

Plaintiff, Innovative Sports Management, Inc., d/b/a Integrated Sports

Media, (hereinafter “Plaintiff’) hereby submits the following Memorandum of

PLAINTIFF’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW - Page 1

 

 
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19-cv-02070-TJH-PLA Document 38 Filed 05/17/21 Page 2o0f8 Page ID#:177

I. SUMMARY STATEMENT OF CLAIMS.

A. Claim 1: Defendant violated 47 U.S.C. §§ 605 or 553.

Elements

Any person aggrieved may bring a claim under 47 U.S.C. §§ 605 and 553,
47 U.S.C. § 605(e)(3)(A), 47 U.S.C. § 553(c)(1) and the term “person aggrieved”
includes any person with proprietary right in the communication. 47 U.S.C. §
605(d)(6). To prevail, Plaintiff must establish that it is a party aggrieved under the
statute.

There are several distinct ways to violate 47 U.S.C. § 605, any one of which
is sufficient for liability. To hold the Defendant liable to Plaintiff, Plaintiff must
establish that it has a proprietary right in the communication, and that the
Defendant either intercepted, received, divulged, or published Plaintiff's Program
without the permission of Plaintiff. 47 U.S.C. § 605(a); Directv v. Webb, 545 F.3d
837 (9th Cir. 2008). To hold Defendant liable under 47 U.S.C. § 553, Plaintiff |
must establish that it has a proprietary right in the communication, and that the
Defendant either intercepted or received the Program without the permission of
Plaintiff. 47 U.S.C. § 553(a)(1). Both 47 U.S.C. § 605 and 47 U.S.C. § 553 are
strict liability statutes. 47 U.S.C. § 605(e)(3)(C)(iii); 47 U.S.C. § 553(c)(3)(C);
Doherty v. Wireless Broadcasting Systems of Sacramento, Inc., 151 F.3d 1129,
1131 (9th Cir. 1998). Sections 605 and 553 reach different conduct and Plaintiff ;

may only recover under one section for a single violation. To prevail, Plaintiff

 

PLAINTIFF’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW - Page 2

 

 

 

 

 
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19-cv-02070-TJH-PLA Document 38 Filed 05/17/21 Page 3of8 Page ID #:178

must establish that it is entitled to relief under either statute.
Defendant operates Tombo Loco Peruvian Restaurant as a sole
proprietorship. As such, for purposes of this lawsuit, Defendant is the commercial

establishment and he is responsible for the activities therein. See Pinkerton's, Inc.

 

v. Superior Court, 49 Cal. App. 4th 1342, 1348 (1996); Twenty-Nine Palms
Enterprises Corp. v. Bardos, 210 Cal. App .4th 1435, 1449 (2012) ((“[A] sole
proprietorship is not a legal entity separate from its individual owner”).

Key Evidence in Support

l. Anticipated Testimony of Doug Jacobs;

2. Anticipated Testimony of John Valentino;

3. Exhibits: Affidavit of John Valentino, and accompanying
photographs and video; February 12, 2018 Event Distribution Agreement; Closed
Circuit (commercial) Rate Card; Post-event score sheet for Friday, March 23, 2018
from www.foxsports.com”; Tomboloco Peruvian Restaurant Yelp Page; The

Infatuation Article on Tombo Loco Peruvian.

B. Claim 3: Defendant committed the tort of conversion.
Elements

To establish this claim, Plaintiff must establish:

1. That Plaintiff owned, possessed or had a right of possession of the

Program;

 

PLAINTIFF’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW - Page 3

 

 

 
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19-cv-02070-TJH-PLA Document 38 Filed 05/17/21 Page 4of8 Page ID #:179

2. That Defendant-intentionally and substantially interfered with Program
by taking possession of it;

3. That Plaintiff did not consent;

4, That Plaintiff was harmed; and

5. That Defendant’s conduct was a substantial factor in causing Plaintiff
harm.

CACI 2100.

In making this determination, the nature of “intent” is addressed to the intent
to do the act in question, that is, the intent to show the Program. It is not the intent
to commit the tort of conversion or the intent to break the law. See Jn re Peklar,
260 F.3d 1035, 1037 (9th Cir. 2001) (“. . . a wrongful intent is not necessary”)
(emphasis added).

Key Evidence in Support

his Anticipated Testimony of Doug Jacobs;

2. Anticipated Testimony of John Valentino;

3. Exhibits: Affidavit of John Valentino, and accompanying
photographs and video; February 12, 2018 Event Distribution Agreement; Closed
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PLAINTIFF’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW - Page 4

 

 

 

 
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19-cv-02070-TJH-PLA Document 38 Filed 05/17/21 Page 5of8 Page ID #:180

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C. Claim 4: Defendant violated Cal. Bus. & Prof. Code § 17200.

Elements

The remedies provided under the California Unfair Competition Law are
cumulative, and Plaintiff's California Business and Professions Code Section
17200 claim is derivative of its other claims. This means that if Plaintiff
establishes that Defendant committed any other violation, Defendant may also be
liable under California Business and Professions Code Section 17200. Cal. Bus &
Prof. Code § 17205; see. Rioury v. Maly's of Cal., Inc., 14 Cal. App. 4th 612, 619
(1993).

Key Evidence in Support

1. Anticipated Testimony of Doug Jacobs;

2 Anticipated Testimony of John Valentino;

Es Exhibits: Affidavit of John Valentino, and accompanying
photographs and video; February 12, 2018 Event Distribution Agreement; Closed
Circuit (commercial) Rate Card; Post-event score sheet for Friday, March 23, 2018
from www.foxsports.com”; Tomboloco Peruvian Restaurant Yelp Page; The
Infatuation Article on Tombo Loco Peruvian.

II. IDENTIFICATION OF ANY ANTICIPATED EVIDENTIARY

ISSUES, TOGETHER WITH THE PARTY’S POSITION ON
THOSE ISSUES.

 

PLAINTIFF’S. MEMORANDUM OF CONTENTIONS OF FACT AND LAW - Page 5

 

 

 
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19-cv-02070-TJH-PLA Document 38 Filed 05/17/21 Page 6of8 Page ID #:181

Plaintiff will challenge any effort by Defendant to submit evidence that was
not provided via his Initial Disclosures or otherwise provided during this
litigation. See Fed. R. Civ. P. 37(c)(1) (“Ifa party fails to provide information or
identify a witness as required by Rule 26(a) or (e), the party is not allowed to use
that information or witness to supply evidence on a motion, at a hearing, or at a
trial, unless the failure was substantially justified or is harmless.”).

Il. IDENTIFICATION OF ANY ISSUES OF LAW, SUCH AS THE
PROPER INTERPRETATION OF A GOVERNING STATUTE,
WHICH ARE GERMANE TO THE CASE, TOGETHER WITH THE
PARTY’S POSITION ON THOSE ISSUES.

The ultimate reach of 47 U.S.C. § 605; Plaintiff's position is that § 605
applies broadly.

IV. BIFURCATION OF ISSUES
N/A.

V. JURY TRIAL
The question of whether there is a right to jury trial for all issues under 47

U.S.C. §§ 605 and 553 has not been addressed by the Ninth Circuit; however,

district courts within the Ninth Circuit have found that such a right exists. E.g.

J & J Sports Productions, Inc. v. Jimenez, 2010 WL 4639314 (S.D. Cal. Nov. 7,

2010). For purposes of this case, Plaintiff does not challenge Defendant’s jury

demand, or that said demand was timely.

VI. FACTUAL AND LEGAL BASIS FOR ATTORNEYS’ FEES.

 

PLAINTIFF’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW — Page 6

 

 

 
Case 2

 

19-cv-02070-TJH-PLA Document 38 Filed 05/17/21 Page 7of8 Page ID #:182

54-12, Plaintiff should be granted 14 days from the entry of any qualifying
judgment in its favor to submit its motion for costs and reasonable attorneys’ fees.
Vil. ABANDONED ISSUES.

None at this time.

  

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Dated: May 17, 2021

 

LAW O ES OF THOMAS P. RILEY, P.C.
By: Thomas P. Riley

Attorneys for Plaintiff

Innovative Sports Management, Inc.,

d/b/a Integrated Sports Media

 

PLAINTIFF’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW - Page 7

 

 

 

 
Case 2

 

19-cv-02070-TJH-PLA Document 38 Filed 05/17/21 Page 8of8 Page ID #:183

PROOF OF SERVICE

I declare that:

I am employed in the County of Los Angeles, California. I am over the age
of eighteen years and not a party to the within cause; my business address is First
Library Square, 1114 Fremont Avenue, South Pasadena, California 91030. I am
readily familiar with this law firm’s practice for collection and processing of
correspondence/documents for mail in the ordinary course of business.

On May 17, 2021, I caused to serve the following document entitled:

PLAINTIFF’S MEMORANDUM OF CONTENTIONS OF FACT AND
LAW

On all parties referenced by enclosing a true copy thereof in a sealed envelope
with postage prepaid and following ordinary business practices, said envelope was
addressed to:

Edwin R. Inga (Defendant)
1905 S. Western Ave. No. 8
Los Angeles, CA 90018

The fully sealed envelope with pre-paid postage was thereafter placed in our
law firm’s outbound mail receptacle in order that this particular piece of mail
could be taken to the United States Post Office in South Pasadena, California later
this day by myself (or by another administrative assistant duly employed by our
law firm).

I declare under the penalty of perjury pursuant to the laws of the United
States that the foregoing is true and correct and that this declaration was executed
on May 17, 2021, at South Pasadena, California.

Dated: May 17, 2021 ——S eS =<

—_
THOMAS. RILEY

 

 

PLAINTIFF’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW - Page 8

 

 
